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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
M.G.U., et al.,                     )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )                  Civil Action No. 18-1458 (PLF)
                                    )
KIRSTJEN NIELSEN, et al.,           )
                                    )
            Defendants.             )
____________________________________)


                             MEMORANDUM OPINION AND ORDER

                  Two months ago, plaintiff E.F. and her nine-year-old son fled threats of violence

in Guatemala to pursue asylum in the United States. After crossing the U.S.-Mexico border on

May 14, 2018, they were initially detained together, but then forcibly separated the next day and

detained in facilities hundreds of miles apart. Ms. E.F. has not seen her son since then.

                  On June 20, 2018, Ms. E.F. and two other parents who had also been separated

from their children filed this civil action. On June 26, 2018, they moved for a preliminary

injunction seeking immediate reunification with their children. The Court set an expedited

briefing schedule and held a hearing on July 12, 2018. At the hearing, counsel for Ms. E.F.

represented that Ms. E.F. was awaiting a decision on the review of her negative credible fear

determination by an immigration judge. Counsel for defendants explained that if the

immigration judge were to affirm the negative credible fear determination and deny Ms. E.F.’s

asylum application, she would be subject to a final order of removal. The order of removal

would leave her at risk of being immediately removed from the United States without her son

before this Court has an opportunity to resolve the pending motion for a preliminary injunction.
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At the hearing, counsel for Ms. E.F. orally moved for an order prohibiting defendants from

removing Ms. E.F. from the United States without her son prior to the Court’s decision on her

preliminary injunction motion.

               After the hearing, on July 13, 2018, defendants informed the Court that an

immigration judge had affirmed Ms. E.F.’s negative credible fear determination. See July 13,

2018 Status Report [Dkt. No. 39]. As a result, Ms. E.F. is now subject to a final order of

removal. Defendants have not provided a timeline for when her removal from the United States

might take place, but they have voluntarily agreed to stay Ms. E.F.’s removal until tomorrow,

July 17, 2018. See id. Defendants have provided no assurance that Ms. E.F. and her

nine-year-old son will be reunited before Ms. E.F. is removed from the country.

               What deeply troubles the Court at this stage is the risk that Ms. E.F. will be

removed from the United States without her young son and without her valid consent to be

removed without her son, before the Court has an opportunity to rule on her preliminary

injunction motion seeking immediate reunification with him. The recent representations made

by the United States in the class action pending before Judge Dana M. Sabraw in federal court in

San Diego only heighten this concern. See Ms. L. v. U.S. Immigration and Customs Enf’t,

No. 18-0428, ECF No. 104, at 4-5 (S.D. Cal. July 12, 2018) (confirming that twelve immigrant

parents have been removed without their children thus far). Immediate reunification will be

impossible if Ms. E.F. is removed from the United States while her son remains detained here.

And defendants have declined to commit to keeping Ms. E.F. in the United States until after the

Court rules on the preliminary injunction motion.

               In light of the urgent need to preserve the status quo until after the Court has made

a determination on the merits of Ms. E.F.’s preliminary injunction motion, the Court will




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construe her lawyer’s oral motion for an order that she not be removed from the country before

she is reunited with her son, as a motion for a temporary restraining order. See Barrow v.

Graham, 124 F. Supp. 2d 714, 715-17 (D.D.C. 2000); see also Nw. Forest Workers Ass’n v.

Lyng, No. 87-1487, 1988 WL 268171, at *2-3 (D.D.C. June 29, 1988) (granting interim relief

not to deport or institute deportation proceedings against seasonal agricultural workers pending

adjudication of plaintiffs’ claims). And upon consideration of the arguments made by counsel in

their briefs and in open court, as well as the entire record in this case, the Court will grant Ms.

E.F.’s motion for a temporary restraining order.

               The purpose of a temporary restraining order is to preserve the status quo for a

limited period of time until the Court has an opportunity to pass on the merits of the demand for

a preliminary injunction. See, e.g., Barrow v. Graham, 124 F. Supp. 2d at 715-16 (citing Warner

Bros. Inc. v. Dae Rim Trading, Inc., 877 F.2d 1120, 1125 (2d Cir. 1989) and Fernandez-Roque v.

Smith, 671 F.2d 426, 429 (11th Cir. 1982)). While the Court must still consider the traditional

four-part test for injunctive relief even at the temporary restraining order stage, the short duration

of such an order and the imminence of the harm may justify the grant of a temporary restraining

order to preserve the status quo. See Barrow v. Graham, 124 F. Supp. 2d at 716-17.

               For purposes of this motion, it suffices to say that Ms. E.F. likely will succeed on

the merits of her substantive due process claim. The Supreme Court has made clear that parents

have a liberty interest in family association or family integrity, and in the care, custody, and

control of their children. See Troxel v. Granville, 530 U.S. 57, 65-66 (2000); Quilloin v.

Walcott, 434 U.S. 246, 255 (1978). At this stage, Ms. E.F. is likely to succeed on her claim that

her continued forcible separation from her young child absent a determination that she is either

unfit or presents a danger to her child, violates due process. See Ms. L. v. U.S. Immigration and




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Customs Enf’t, No. 18-0428, 2018 WL 3129486, at *7-9 (S.D. Cal. June 26, 2018); see also

Memorandum Opinion and Order, W.S.R. v. Sessions, No. 18-4265, at 10-15 (N.D. Ill. July 9,

2018).

               Moreover, the parties agree that Ms. E.F. is a member of the class in the action

pending before Judge Sabraw. In that case, Judge Sabraw granted a class-wide preliminary

injunction and ordered that defendants “reunify all Class Members with their minor children age

five (5) and older within thirty (30) days of the entry of this Order” absent certain circumstances

that do not apply here. Ms. L. v. U.S. Immigration and Customs Enf’t, 2018 WL 3129486, at

*12. Defendants have repeatedly represented to this Court, in both their papers and at the July

12 hearing, that they intend to comply with Judge Sabraw’s thirty-day timeline for reunification

of children age five and above. They have made a similar commitment to Judge Sabraw. See

Ms. L. v. U.S. Immigration and Customs Enf’t, No. 18-0428, ECF No. 109, at 1 (S.D. Cal. July

15, 2018). Given the likelihood that Ms. E.F. will prevail on her substantive due process claim

in this Court, the likelihood of success prong of the four-part test weighs heavily in favor of

granting the temporary restraining order.

               Ms. E.F. faces potentially imminent and irreparable harm if the Court does not

grant the requested relief and prohibit her removal from the country without her son prior to

reunification. In the class action, Judge Sabraw specifically enjoined defendants from “removing

any Class Members without their child, unless the Class Member affirmatively, knowingly, and

voluntarily declines to be reunited with the child prior to the Class Member’s [removal].” Ms. L.

v. U.S. Immigration and Customs Enf’t, 2018 WL 3129486, at *12; see also Memorandum

Opinion and Order, W.S.R. v. Sessions, No. 18-4265, at 30. Here, Ms. E.F. has presented

credible evidence that she does not consent to removal without her son prior to reunification.




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The Court credits her declarations signed on July 11, 2018 and July 13, 2018 confirming her

desire not to be removed without her son. In her declarations, she states that “I want to be

reunited with my son,” July 11, 2018 Declaration of E.F. at ¶ 2 [Dkt. No. 36-3], and that “[i]f I

am deported, I want to hug my nine-year old boy before I go,” July 13, 2018 Declaration of E.F.

at ¶ 4 [Dkt. No. 40-1].

               Defendants respond that on June 28, 2018, Ms. E.F. placed her initials on a

one-page form in which she purports to consent to removal without her son prior to reunification.

See June 28, 2018 Parent/Child Reunification Request [Dkt. No. 36-2]. Although the parties

have provided few details about the circumstances under which this one-page form was

presented to and initialed by Ms. E.F., Ms. E.F. has presented evidence that she “is not able to

read or write in English” and that she is “not fully literate in Spanish.” See July 13, 2018

Declaration of Ashley N. Martinez at ¶ 4 [Dkt. No. 41-1]. She has also explained that she did

not fully understand the purpose of the form, believing that completing it would allow her son to

stay with his uncle until she was released from detention. See July 11, 2018 Declaration of E.F.

at ¶¶ 4-6 [Dkt. No. 36-3]. In light of these representations, the Court does not credit the form in

which Ms. E.F. purports to decline reunification with her son prior to removal. Simply put, the

form is not worth the paper it is written on.

               If Ms. E.F. were to be removed on the basis of her negative credible fear

determination and invalid waiver, she likely will lose the ability to be immediately reunified with

her son without the benefit of any due process protections. Such harm would undoubtedly be

irreparable. Although defendants have repeatedly stated that they will attempt to comply – or

more recently, are “committed” to complying, see Ms. L. v. U.S. Immigration and Customs

Enf’t, No. 18-0428, ECF No. 109, at 1 – with Judge Sabraw’s thirty-day timeline for




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reunification of children age five and above on or before July 26, 2018, defendants have refused

to assure this Court that they will not seek to remove Ms. E.F. without her son prior to that date.

Because defendants have declined to voluntarily provide an administrative stay of the removal

order beyond July 17, 2018, there is no guarantee that Ms. E.F. will be permitted to remain in the

country long enough to be reunited with her son in the event that the Court orders such

reunification to occur. See Doe v. Mattis, 288 F. Supp. 3d 195, 200 (D.D.C.), aff’d, 889 F.3d

745 (D.C. Cir. 2018) (citing In re Petitioners Seeking Habeas Corpus Relief in Relationship to

Prior Detentions at Guantanamo Bay, 700 F. Supp. 2d 119, 126 (D.D.C. 2010), aff’d sub nom.

Chaman v. Obama, 2012 WL 3797596 (D.C. Cir. Aug. 10, 2012)).

               The balance of equities and the public interest also favor granting Ms. E.F.’s

motion for a temporary restraining order. Defendants may be concerned that a temporary

restraining order will disrupt the process in place for immigration authorities to make removal

decisions and may challenge their authority to do so. The temporary restraining order requested

here, however, would merely require defendants to briefly stay their hand while the Court

assesses the merits of Ms. E.F.’s due process claim. All that is involved is the preservation of the

status quo for a short period of time until the Court can make a determination on the merits, so

any possible disruption to defendants will be minimal. And while there may be an interest in

allowing the process for removal to run its course without the intervention of the courts, there is

a much weightier interest in ensuring that defendants do not impermissibly deprive immigrant

parents of their due process rights under the Constitution.

               Given the danger that, upon removal, the Court could lose the ability to adjudicate

Ms. E.F.’s motion for a preliminary injunction seeking reunification, it follows that Ms. E.F.’s

removal from the country without her son could undermine her rights. In the absence of a




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commitment from defendants to stay their hand, the Court must act to preserve the status quo and

prevent Ms. E.F.’s imminent removal under these circumstances.

               For the foregoing reasons, it is hereby

               ORDERED that defendants and their officers, agents, servants, employees,

attorneys, and all those who are in active concert or participation with them, are temporarily

restrained from removing from the United States plaintiff E.F. until further order of this Court.

               SO ORDERED.




                                                             __________/s/______________
                                                             PAUL L. FRIEDMAN
                                                             United States District Judge
DATE: July 16, 2018




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